UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

UNITHD STATES OF AMERICA
- against - 21 cr KG (JGK)

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ils,
SEAN WYGOVSEY, ORDER | Aa } 2.|
Defendant.

 

 

This Order is entered, pursuant to Federal Rule of Criminal
Procedure 5(f) and the Due Process Protections Act, Pub. L. No
116-182, 134 Stat. 894 (Oct. 21, 2026), to confirm the

Government’s disclosure obligations under Brady v. Maryland, 373

 

U.S. 83 (1963), and its progeny, and to summarize the possible
consequences of violating those obligations.

The Government must disclose to the defense all information
“favorable to an accused” that is “material either to guilt or
to punishment” and that is known to the Government. Id. at 87.
This obligation applies regardless of whether the defendant
requests this information or whether the information would
itself constitute admissible evidence. The Government shall
disclose such information to the defense promptly after its
existence becomes known to the Government so that the defense
may make effective use of the information in the preparation of
its case.

As part of these obligations, the Government must disclose

any information that can be used to impeach the trial testimony

 
state, and local prosecutors, law enforcement officers, and
other officers who have participated in the prosecution, or
investigation that led to the prosecution, of the offense or
offenses with which the defendant is charged.

If the Government fails to comply with this Order, the

Court, in addition to ordering production of the information,

may:

(1) specify the terms and conditions of such production;

(23 grant a continuance;

(3) impose evidentiary sanctions;

(4) impose contempt or other sanctions on any lawyer
responsible for violations of the Government’s disclosure
obligations, or refer the matter to disciplinary
authorities;

(5) dismiss charges before trial or vacate a conviction
after trial or a guilty plea; or

(6) enter any other order that is just under the

circumstances.

SO ORDERED.

 
 

Dated: November 22, 2021
New York, New York

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_ Y John G. Koeltl
United States District Judge

 

 
